              Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 1 of 35




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

    JULIE BARODY, and
    WILLIAM B. FARMER,

               PLAINTIFFS,

    v.
                                                  Case No. 4:20-cv-217-AW-MAF
    CITY OF QUINCY, FLORIDA,
    KEITH A. DOWDELL, in his official
    capacity as Commissioner and Mayor
    of the City of Quincy, RONTE R.
    HARRIS, in his official capacity as
    Commissioner and Mayor Pro-Tem of
    the City of Quincy, and ANGELA G.
    SAPP, in her official capacity as
    Commissioner of the City of Quincy,

               DEFENDANTS.



            DEFENDANTS’ RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTIVE RELIEF

         I.      INTRODUCTION

              The City of Quincy has not been redistricted since the 1970s. As a result of

community comments, the potential need for redistricting became an issue of interest

for the City.1          The starting point and overarching criterion in redistricting is

1
 This Response refers to the Defendants as “City,” the Plaintiffs collectively as “the
Plaintiffs,” and the filings before this Court as “ECF” followed by the appropriate
pin-citation.
                                          Page 1 of 35
       Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 2 of 35




apportioning population to create nearly equal populations between districts;

a population deviation between districts of over 10 percentage points from the mean

constitutes a prima facie one-person-one-vote equal protection violation.

        Upon investigation, the City found that its population was severely

malapportioned under its 1970s-era plan. In fact, based on 2010 Decennial Census

data, the population difference between the most populous and least populous

districts was more than 110 percentage points. In short, the City was severely in

need of redistricting. Plaintiffs do not dispute the severely malapportioned character

of the City’s districts under its 1970s-era plan.

        Faced with this fact, the City sought to resolve this issue in time for the City’s

next election in 2020. The City hired an outside consultant to develop alternative

maps for the City’s consideration.         The City’s consultant prepared potential

alternative district plans that sought to adjust district boundaries to remedy the severe

malapportionment between existing districts while also considering other

redistricting criteria. At the end of this process, the City selected one of the first

alternative district maps created by its consultant, which achieved a maximum

population deviation of 5.5 percentage points based on the 2010 Decennial Census.

        Plaintiffs now claim that the City’s enacted redistricting plan violates Section

2 of the Voting Rights Act by impermissibly diluting the voting strength of Whites2


2
    “Whites” as referred to herein means single-race non-Hispanic White.
                                      Page 2 of 35
      Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 3 of 35




in the City of Quincy. As an initial matter, Plaintiffs’ claim turns Section 2 – which

was intended to help end historic discriminatory treatment of minorities, Bartlett v.

Strickland, 556 U.S. 1, 10 (2009) – on its head. Plaintiffs offer no argument that

Whites in the City of Quincy are a historically disadvantaged race, nor could they.

Assuming, however, that it is appropriate for Plaintiffs to allege protections for

Whites, Plaintiffs’ Section-2 based Motion for Preliminary Injunctive Relief lacks

all merit.

       First, the Plaintiffs cannot show likelihood of success on the merits or

irreparable harm necessary to support preliminary injunctive relief because they do

not offer competent, substantial evidence to support any Section 2 claim. Plaintiffs’

Motion asserts that the City’s enacted redistricting plan violates Section 2 by

depriving them of a second majority-White District. But as demonstrated by the

City’s expert, Plaintiffs have not demonstrated that a second majority-White district

can be created. Moreover, the analysis of Plaintiffs’ own expert reflects that out of

2,500 computer-simulated “race-blind” districting plans, not a single plan resulted

in a second district with a majority-White population. Appropriately demonstrating

that a second majority-White district can be created is a critical precondition to any

Section 2 claim. There is simply no evidence that this is possible. Plaintiffs’ Motion

similarly fails to provide competent substantial evidence to satisfy the other elements

of a Section 2 claim.


                                    Page 3 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 4 of 35




      Second, the equities and the public interest weigh against any preliminary

injunction. As an initial matter, Plaintiffs’ requested relief in part asks this Court to

consider requiring upcoming commission elections to proceed under the City’s

malapportioned 1970s-era plan that is prima facie in violation of the Fourteenth

Amendment. Plaintiffs’ entirely unsupported Section 2 claim cannot warrant such

an outcome. Even putting aside that request, however, Plaintiffs’ unsupported claim

equally fails to warrant Plaintiffs’ alternative requests that this Court halt the City’s

June 9 election and either compel the City to draw a new districting plan or

alternatively draw one for the City itself.

      Further, even assuming there was any merit to Plaintiffs’ claims (there is not),

Plaintiffs’ request for preliminary relief simply comes too late with regard to the

City’s scheduled June 9 election. The City approved its redistricting plan on March

26. Plaintiffs waited more than a month to file their complaint alleging a Section 2

violation and 17 more days before filing for a preliminary injunction. Moreover,

Plaintiffs claim to have had concerns about the City’s redistricting effort since June

25, 2019, almost a year before Plaintiffs filed their suit. The City’s election is now

mere days away. Voter registration based on the City’s new districts has been

completed. Candidate qualifying deadlines have come and gone. Absentee ballots

have been mailed and those votes are already being returned. It is simply impossible

for an election to occur on June 9 other than based on the City’s enacted redistricting


                                     Page 4 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 5 of 35




plan. And the imposition of any new maps at this point would result in voter

confusion, require cancellation of the June 9 election, and repeating the entire

election cycle process – reconstruction of voter registration rolls, candidate

qualifying, voter education and outreach, and poll operations – without the Gadsden

County Supervisor of Elections to administer and run the election.

   II.      THIS COURT SHOULD DENY THE PLAINTIFFS’ MOTION FOR
            PRELIMINARY INJUNCTIVE RELIEF.

         The Plaintiffs’ request for preliminary relief lacks merit and should be denied.

“The purpose of a preliminary injunction is merely to preserve the relative positions

of the parties until a trial on the merits can be held.” Univ. of Tex. v. Camenisch,

451 U.S. 390, 395 (1981). “A preliminary injunction is an extraordinary and drastic

remedy not to be granted unless the movant clearly establishes the burden of

persuasion as to the four requisites.” Keister v. Bell, 879 F.3d 1282, 1287 (11th Cir.

2018) (collecting citations). The four requisites the Plaintiffs “must clearly

establish” are: “(1) a substantial likelihood of success on the merits; (2) a substantial

threat of irreparable injury; (3) that the threatened injury to the [P]laintiff[s]

outweighs the potential harm to the [D]efendant; and (4) that the injunction will not

disservice the public interest.” Id. (citations omitted). Notably, the rule governing

preliminary injunctions “does not place upon the nonmoving party the burden of

coming forward and presenting its case against a preliminary injunction.” Ala. v.

U.S. Army Corps of Eng’rs, 424 F.3d 1117, 1136 (11th Cir. 2005) (quoting Granny
                                       Page 5 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 6 of 35




Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Local No. 70, 415

U.S. 423, 442 (1974)).

             A. The Plaintiffs cannot clearly establish likelihood of success.

      The Plaintiffs have not “clearly establishe[d]” a likelihood of success against

the City. Keister, 879 F.3d at 1287. Section 2 of the Voting Rights Act, Title 42

U.S.C. § 1973, makes it illegal for any state or political subdivision to deny or

abridge the right of any citizen to vote on the basis of race or color. 42 U.S.C. §

1973(a). Section 2 is violated “if, based on the totality of circumstances, it is shown

that . . . members of a class of citizens protected by subsection (a) . . . have less

opportunity than other members of the electorate to participate in the political

process and to elect representatives of their choice.” 42 U.S.C. § 1973(b).

      As established by the United States Supreme Court in the seminal case

Thornburg v. Gingles, to prove a vote dilution claim under Section 2 of the Voting

Rights Act the Plaintiffs must first satisfy three preconditions and further

demonstrate that under the “totality of the circumstance” that there is impermissible

vote dilution. 478 U.S. 30, 50-51, 79 (1986); see also Negron v. City of Miami

Beach, 113 F.3d 1563, 1566 (11th Cir. 1997).

      In sum, the purpose of the Gingles analysis is to “establish that ‘the minority

[group] has the potential to elect a representative of its own choice’ in a possible

district, but that racially polarized voting prevents it from doing so in the district as


                                     Page 6 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 7 of 35




actually drawn because it is ‘submerg[ed] in a larger [majority race] voting

population.’” Cooper v. Harris, 137 S. Ct. 1455, 1470 (2017) (emphasis and some

alterations added). The Plaintiffs’ Motion for Preliminary Injunctive Relief fails to

demonstrate any likelihood of success under the Gingles preconditions or under the

totality of the circumstances.

                    1. Plaintiffs Have Not Clearly Established a Likelihood of
                       Success Under Gingles Precondition 1
      Under Gingles’ first precondition, the Plaintiffs must demonstrate that Whites

are “sufficiently large and geographically compact to constitute a majority in a single

member district.” Gingles, 478 U.S. at 50-51. This first precondition includes dual

elements: numerosity and compactness. See, e.g., Negron, 113 F.3d at 1567 (noting

dual components of the first Gingles precondition).

      Numerosity is determined by evaluating the voting age population (“VAP”),

as may be refined by citizenship (“CVAP”). Id. at 1568-69. The compactness

inquiry should take into account “traditional districting principles such as

maintaining communities of interest and traditional boundaries.”           Abrams v.

Johnson, 521 U.S. 74, 92 (1997). This first precondition requires the Court to

consider whether it can fashion an appropriate remedy in the context of the particular

system at issue. Nipper v. Smith, 39 F.3d 1494, 1530-31 (11th Cir. 1994); see

also Holder v. Hall, 512 U.S. 874 (1994).



                                    Page 7 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 8 of 35




      The first Gingles precondition is preeminent. In considering Section 2 claims,

“courts uniformly express[] a desire to maintain ascertainable and objective

standards from which to adjudicate section 2 claims.” Dillon v. Baldwin Cty

Comm’nrs, 376 F.3d 1260, 1268 (11th Cir. 2004). The first Gingles precondition,

the Eleventh Circuit explained, “provides a gate-keeping mechanism by which the

courts maintain these standards.” Id. When faced with the choice, rather than

“open[ing] the door to the inevitable flood of marginal section 2 claims [which]

would impose an unwarranted burden on lower federal courts and an indefensible

encroachment into the affairs of state governments,” the Eleventh Circuit chose

instead to “follow the near universal view of other federal courts that a minority

group cannot obtain relief under section 2 without first showing that it is ‘large

enough to control a district’ not just “influence” it.’” Id. at 1269 (quoting Illinois

Legislative Redistricting Comm’n v. LaPaille, 786 F. Supp. 704, 715 (N.D. Ill.

1992)).

      In this case, Plaintiffs are already a majority in one district and seek to

demonstrate that Whites are sufficiently large and geographically compact enough

to constitute a majority in two districts. ECF 15, at 14 (arguing Whites are

“sufficiently large and geographically compact to constitute a majority in two single-

member districts (namely Districts 4 and 5)” (emphasis in original)). However,

Plaintiffs’ proffered     demonstration plans (“Demonstration Plan 1” and


                                    Page 8 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 9 of 35




“Demonstration Plan 2,” ECF 15-2, at 4, Fig. 1; 6, Fig. 2) fail to demonstrate that

two majority-White districts are possible.

      Indeed, the likely impossibility of creating two out of five majority-White

districts is discernable from the simple fact that Whites constitute less than a quarter

of the City’s population. Exh. 1, ¶ 62. It is also demonstrated by analysis supplied

by Plaintiffs’ own expert, which reflects that out of 2,500 computer-simulated “race-

blind” districting plans, not a single plan resulted in a second district with a majority-

White population. Exh. 1, ¶ 63; ECF 15-2, at 21, Fig. 8. Thus, it is not surprising

that as demonstrated below, Plaintiffs have utterly failed to demonstrate that either

of their demonstration plans result in a second majority-White district.

                                  a. Plaintiffs’ Demonstration Plan 1 Fails Gingles
                                     Precondition 1.

      On its face, Plaintiffs’ Demonstration Plan 1 fails Gingles precondition 1 for

one very simple reason: per Plaintiffs’ own analysis it fails to create any majority-

White districts, much less two (or even one as is the case under the City’s enacted

plan). ECF 15-2, at 4, Fig. 1 (reflecting the highest percentage White districts as

being 41.3 percent and 37.3 percent White under Plaintiffs’ Demonstration Plan 1).3


3
 The “White share” calculated by Plaintiffs in Figure 1 is based on total population,
and not VAP or CVAP as required for Gingles precondition 1. The City’s expert
has calculated VAP and CVAP percentages for Plaintiffs’ Demonstration Plan 1,
however, and Whites remain a minority in all districts under Demonstration Plan 1
measured by either VAP or CVAP. Exh. 1, ¶ 43. This conclusion is further
confirmed by review of voter registrations, which reflect that under Plaintiffs’
                                      Page 9 of 35
      Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 10 of 35




This should end the Court’s analysis with respect to Plaintiffs’ Demonstration Plan

1.4

       Plaintiffs attempt to evade this conclusion by erroneously suggesting that

Whites and Hispanics (e.g., Latinos)5 create a majority by coalition. ECF 15, at 14

(asserting Demonstration Plan 1 “plainly and easily” satisfies Gingles precondition

1 because “White/Anglo residents of Quincy constitute a majority in two single-

member districts, in conjunction with a coalition of Hispanic voters.”). Plaintiffs’

efforts to make such a minority-coalition claim fail because they do not demonstrate

that Whites and Hispanics are politically cohesive, which is an “essential” element

of any such claim.6 Growe v. Emison, 507 U.S. 25, 41 (1993) (“when dilution of the


Demonstration Plan 1, 47.2 percent of registered voters in District 4 are White, as
are 44.6 percent of registered voters in District 5. Id. ¶ 64-65.
4
  In addition to total population, Plaintiffs provide data asserting that the White share
of voter turnout in the November 2018 general election was 51.2 percent and 51.4
percent among registered voters in Districts 4 and 5 of Demonstration Plan 1. ECF
15-2, ¶ 6, Fig. 1. But this information is entirely irrelevant under Gingles
precondition 1, which must be based on VAP or CVAP, not voter turnout for a single
general election. See, e.g., Negron, 113 F.3d at 1568-69.
5
  “Hispanic” or “Latino” refers to a person of Cuban, Mexican, Puerto Rican, South
or Central American, or other Spanish culture or origin regardless of race. “There
are two minimum categories for ethnicity: Hispanic or Latino and Not Hispanic or
Latino. OMB considers race and Hispanic origin to be two separate and distinct
concepts. Hispanics and Latinos may be of any race. Thus, the percent Hispanic
should not be added to percentages for racial categories.”                            See
https://www.census.gov/quickfacts/fact/note/US/RHI725218.
6
   While the Eleventh circuit recognizes Section 2 claims based on minority
coalitions, this question has not been directly addressed by the United States
Supreme Court, and other circuit courts do not recognize such coalition-based
claims. See Growe v. Emison, 507 U.S. 25, 41 (1993) (assuming without deciding
                                     Page 10 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 11 of 35




power of such an agglomerated political bloc is the basis for an alleged violation,

proof of minority political cohesion is all the more essential.”); Concerned Citizens

of Hardee Cty. v. Hardee Cty. Bd. of Commrs, 906 F.2d 524, 526-27 (11th Cir. 1990)

(affirming district court opinion and finding that the district court’s determination

that Blacks and Hispanics were not politically cohesive was “fatal” to their

Black/Hispanic minority-coalition claim).

      As discussed in more detail in section II.A.2, infra, not only do Plaintiffs

utterly fail to present any competent evidence of political cohesion between Whites

and Hispanics in the City of Quincy, but available evidence actually indicates the

absence of cohesion. Thus, Plaintiffs have failed to demonstrate any likelihood of

success on a Section 2 claim based on a coalition of Whites and Hispanics under

Gingles precondition 1.

      Beyond these fatal numerosity issues, there are other problems with

Demonstration Plan 1. For one, Plaintiffs’ Demonstration Plan 1 unnecessarily

concentrates Black7 voters into District 1, creating an extremely segregated district



that such a claim could be made); Hall v. Virginia, 385 F.3d 421, 431 (4th Cir.
2004) (“A redistricting plan that does not adversely affect a minority group's
potential to form a majority in a district, but rather diminishes its ability to form a
political coalition with other racial or ethnic groups, does not result in vote dilution
‘on account of race’ in violation of Section 2.”); see also Frank v. Forest Cty., 336
F.3d 570, 575 (7th Cir. 2003); Nixon v. Kent Cty., 76 F.3d 1381, 1387 (6th Cir.
1996).
7
  As used herein, “Black(s)” generally means single-race non-Hispanic Black.
                                    Page 11 of 35
    Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 12 of 35




with a Black VAP population of 95.87 percent. Exh. 1, ¶ 45. Further, for unknown

reasons Plaintiffs’ Demonstration Plain 1 shifts populations such that many voters

who last voted in the 1970s-era plan’s extremely overpopulated District 3 would be

moved from District 1 under the City’s enacted plan to District 2 under

Demonstration Plan 1, and would therefore be forced to wait until 2022 to vote

instead of in the upcoming 2020 election. Id. ¶ 44. Finally, beyond simply reporting

“Polsby-Popper8” and population deviation calculations9 for each district in

Demonstration Plan 1, Plaintiffs offer no affirmative explanation or demonstration

of how Demonstration Plan 1 complies with traditional redistricting criteria as

required by the “compactness” component of Gingles precondition 1.

                                b. Plaintiffs’ Demonstration Plan 2 Fails Gingles
                                   Precondition 1.

      Plaintiffs’ Demonstration Plan 2 fairs no better. Implicitly acknowledging

that it is impossible to draw a properly apportioned, second majority-White district

based on 2010 Census data, Demonstration Plan 2 instead attempts to rely solely on


8
  Polsby-Popper scores are one test of geographic compactness. Exh. 1, ¶ 36, n. 11.
“Reock” is another such measure. Id. ¶ 36, n. 10. Plaintiffs’ Motion provides no
discussion of these measures, nor does it provide the mean score for the overall
demonstration plan. However, Plaintiffs’ Demonstration Plan 1 scores lower than
the City’s enacted plan on Reock, and slightly better on Polsby-Popper. Id. ¶ 46.
9
  Plaintiffs’ Motion does not provide the maximum deviation between the least and
most populous districts in Plaintiffs’ Demonstration Plan 1. ECF 15-2 , at 4, Fig. 1
(just providing deviation from the mean for each individual district). However, the
maximum deviation is 9.23 percentage points, higher than the maximum deviation
of 5.53 percentage points under the City’s enacted Plan. Exh. 1, ¶¶ 33, 41.
                                   Page 12 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 13 of 35




2014-2018 American Community Survey (“ACS”) data. ECF 15, at 14-15; ECF 15-

2, at 6, Fig. 2. But no matter what data is used to evaluate Plaintiffs’ Demonstration

Plan 2, it fails to satisfy Gingles precondition 1.

      First, as to numerosity, Plaintiffs’ Demonstration Plan 2 fails to create a

second majority-white CVAP district. Exh. 1, ¶¶ 56, 57. Plaintiffs do not provide

CVAP calculations for Demonstration Plan 2, instead presenting a calculation of

total White population share based on 2014-2018 ACS data. ECF 15-2, at 6, Fig. 2.

But total population share is simply not the appropriate legal metric for determining

numerosity under Gingles precondition 1, which must be based on VAP or CVAP.

See, e.g., Negron, 113 F.3d at 1568-69. The conclusion that Demonstration Plan 2

fails to create two CVAP majority-White districts is further confirmed by review of

voter registrations, which reflect that White registered voters are estimated to be 48.7

percent of the population in District 4, and 32.3 percent of the population in District

5. Exh. 1, ¶ 64-65.

      Second, even if Plaintiffs Demonstration Plan 2 did create a second majority-

White CVAP district (it does not), it still fails under the compactness component of

Gingles precondition 1, which requires the demonstration plan to be evaluated under

traditional redistricting criteria. Most importantly, Plaintiffs’ Demonstration Plan 2

results in districts with a maximum population deviation well in excess of the 10

percent threshold for a prima facie one-person-one-vote equal protection violation.


                                     Page 13 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 14 of 35




Exh. 1, ¶¶ 48-55; Brown v. Thomson, 462 U.S. 835, 842-43 (1983) (noting 10 percent

prima-facie threshold).

      As an initial matter, evaluation of population apportionment under Plaintiffs’

Demonstration Plan 2 based on 2010 Decennial Census data reflects a maximum

population deviation of 49.8 percent, Exh. 1, ¶ 48, which is well in excess of the

maximum 10 percent threshold. Likely in recognition of this fact, Plaintiffs assert

that Demonstration Plan 2 is appropriately apportioned based on population

estimates created by disaggregating block-group level 2014-2018 ACS estimates.

ECF 15-2, ¶¶ 9-10, Fig. 2. But there are two problems with Plaintiffs’ ACS-based

population apportionment.10

      One, the 2010 Decennial Census is the proper basis for determining

apportionment of total population between districts. The City is aware of no case

that has relied on ACS data to determine proper population apportionment and

compliance with the one-person-one-vote mandate of the Fourteenth Amendment

(versus use of ACS data in disaggregation of decennial Census data to determine

CVAP or to consider the relative socioeconomic positions of different populations,

for example). See, e.g., Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch.

Dist., 201 F. Supp. 3d 1006, 1030 (E.D. Mo. 2016), affirmed, Mo. State Conf. of the



10
  For a general discussion of 2010 and post-2010 demographics, see Exh. 1, ¶¶ 16-
23.
                                  Page 14 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 15 of 35




NAACP v. Ferguson-Florissant Sch. Dist., 894 F.3d 924, 929 (8th Cir. 2018)

(finding Decennial Census data must be used versus ACS estimates as total

population for apportionment base because where Decennial Census data goes down

to the census block level, the ACS does not report census block-level data and does

not allow a demographer to avoid splitting census blocks, making it is impossible to

measure precisely the population in a given voting district.); Pope v. Cty. of Albany,

94 F. Supp. 3d 302, 344 (N.D.N.Y. 2015) (“However, when the Court noted in the

Summary Judgment Order that the ACS was less reliable than census data for

redistricting, the Court was referring to population numbers for the purpose of

drawing redistricting maps. The Court finds that ACS data is reliable for the purpose

of considering the relative socioeconomic positions of different populations in the

County.”); New York v. United States DOC, 315 F. Supp. 3d 766, 778 (S.D.N.Y.

2018) (“Unlike the decennial census, the ACS is conducted annually and is not used

to obtain an ‘actual Enumeration’ of the population for purposes of apportionment;

instead, it is given each year to only about 3.5 million households — roughly one in

every thirty-eight households in the country — for the sole purpose of collecting

demographic data on the population.”)

      Two, even if ACS population estimates could trump the decennial Census for

population apportionment, properly disaggregated population estimates using 2014-

2018 ACS data reflect that Plaintiffs’ Demonstration Plan 2 is still malapportioned


                                   Page 15 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 16 of 35




with a maximum population deviation of 37.9 percent. Exh. 1, ¶¶ 48-55. Plaintiffs’

population deviation calculations, which assert a maximum population deviation of

8.65 percent, ECF 15-2, at 6, Fig. 2, are erroneous and unreliable because Plaintiffs’

method of disaggregating block-group-level ACS population estimates imputes

more population to the City of Quincy than the ACS itself estimates exists. Exh. 1,

¶¶ 48-55. In sum, Plaintiffs’ Demonstration Plan 2 is fatally flawed both in its

failure to create a second majority-White CVAP district and in its failure to create

properly apportioned districts for one-person-one-vote purposes.

      Beyond these fatal issues, there are other problems with Demonstration Plan

2. Like Plaintiffs’ Demonstration Plan 1, Demonstration Plan 2 unnecessarily

concentrates Black voters into District 1, but to an even more severe degree –

creating an extremely segregated district with a Black CVAP population of about

100 percent. Exh. 1, ¶ 59. It also suffers from the same problem as Demonstration

Plan 1 with respect to how it shifts populations from District 1 under the City’s

enacted plan to District 2 under Demonstration Plan 1. Id. ¶¶ 58, 44. Finally, beyond

the erroneous population deviation calculations discussed above, Plaintiffs offer no

affirmative explanation or demonstration of how Demonstration Plan 2 complies

with traditional redistricting criteria as required by the “compactness” component of

Gingles precondition 1. Among other things, Plaintiffs do not provide any Polsby-

Popper or Reock scores for Demonstration Plan 2 (as they provided for


                                   Page 16 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 17 of 35




Demonstration Plan 1). However, as determined by the City’s expert, Plaintiffs’

Demonstration Plan 2 scores lower than the City’s enacted plan on both Polsby-

Popper and Reock. Exh. 1, ¶ 60.

       In sum, Plaintiffs’ Demonstration Plans 1 and 2 have failed to meet Plaintiffs’

burden to clearly establish likelihood of success on their Section 2 claim under

Gingles precondition 1.

                   2. Plaintiffs Have Not Clearly Established a Likelihood of
                      Success Under Gingles Preconditions 2 or 3
      Plaintiffs have failed to provide evidence to clearly establish a likelihood of

success under Gingles preconditions 2 or 3.         These preconditions require a

demonstration that the minority group is “politically cohesive” and that a “majority

group votes sufficiently as a bloc to enable it … to defeat the minority’s preferred

candidate.” Gingles, at 51-52.     “Because the extent of bloc voting necessary

to demonstrate that a minority’s ability to elect its preferred representative is

impaired varies according to several factual circumstances, the degree of bloc voting

which constitutes the threshold of legal significance will vary from district to

district.” Id. at 55. In other words, the second and third Gingles factors can be

characterized as requiring Plaintiffs to establish “legally significant racially

polarized voting.” Id. at 56.

      The only alleged evidence Plaintiffs offer in support of their claim on these

points consists of statistics estimating the preference of Whites, Blacks, and
                                   Page 17 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 18 of 35




Hispanics in Gadsden County as between Republican and Democratic candidates for

four state-wide offices in the 2018 election:11




See ECF 15, at 15; ECF 15-2, at 10, Tbl. 1.

      But, these statistical estimates constitute a limited data set of only four

exogenous state-wide, partisan races in a single election year They say nothing

about voter behavior in endogenous, non-partisan city elections with respect to

minority cohesion and especially with respect to the existence of any majority bloc

voting sufficient to defeat any allegedly minority-preferred candidate in City of

Quincy elections. See, e.g., Johnson v. Hamrick, 196 F.3d 1216, 1222 (11th Cir.

1999) (noting that the law of the Eleventh Circuit is that endogenous elections are

more probative in Gingles analysis than exogenous elections); see also Carrollton


11
   With regard to the third Gingles precondition, Plaintiffs also assert that city
commission election results in City of Quincy Commission Districts 1, 2, and 3
reflect Blacks have consistently defeated White-preferred candidates. But Plaintiffs
provide no citation to any evidence or testimony on this point. They offer no analysis
to identify any asserted candidate that was allegedly preferred as between Whites or
Blacks, nor any analysis to indicate how Whites or Blacks voted in any particular
city commission election for any particular city commission candidate. Beyond this
totally unsupported assertion, Plaintiffs’ Motion only offers a citation to Table 1 of
their experts’ declaration. ECF 15, at 15.
                                    Page 18 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 19 of 35




Branch of NAACP v. Stallings, 829 F.2d 1547, 1558 (11th Cir. 1987) (noting the

Gingles inquiry is focused on the jurisdiction in questions, e.g., whether Plaintiffs

have less opportunity to elect city commissioners of their choice, not state-wide

officials); Harding v. Cty. of Dall., 336 F. Supp. 3d 677, 692-693, 698 (N.D. Tex.

2018) (wherein plaintiffs challenging county commission districts presented

ecological regression and ecological inference analysis of six endogenous county

commission races from four different election years to demonstrate minority

cohesion and bloc voting); Johnson v. Hamrick, 155 F. Supp. 2d 1355, 1370 (N.D.

Ga. 1997) (finding cohesiveness where seven out of eleven endogenous elections

demonstrated clear cohesiveness of minority preference); Exh. 2 (McLean

Declaration), ¶ 13 (identifying City of Quincy elections as nonpartisan). The

relevance of this data is further diluted because it is for all voters in Gadsden County,

and not just for voters in the City of Quincy.

      In sum, these statistics say absolutely nothing about the existence or extent of

racially polarized voting in local, non-partisan, city commission elections. Nor do

Plaintiffs even attempt to demonstrate that these limited statistical estimates for

state-wide partisan elections are the result of racially polarized voting versus any

other factor, such as party politics. S. Christian Leadership Conf. v. Sessions, 56

F.3d 1281, 1290 (11th Cir. 1995) (en banc decision affirming district court decision




                                     Page 19 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 20 of 35




that no Voting Rights Act violation shown when “factors other than race, such

as party politics . . ., were driving the election results” (emphasis added)).

      Further, with respect to minority cohesion under Gingles precondition 1, these

statistical estimates utterly fail to present any competent evidence of political

cohesion between Whites and Hispanics in the City of Quincy under Plaintiffs’

Demonstration Plan 1, which is essential to any Section 2 coalition-based claim.

ECF 15, at 14, n. 3 (citing ECF 15-2, at 10, Tbl. 1, for inferred assertion that Whites

and Hispanics form a cohesive minority coalition); Concerned Citizens of Hardee

Cty. 906 F.2d at 526-27; Growe, 507 U.S. at 41 (“when dilution of the power of such

an agglomerated political bloc is the basis for an alleged violation, proof of minority

political cohesion is all the more essential.”).

      Plaintiffs’ statistics, to the extent they are probative or relevant at all, reflect

that Hispanics in the four state-wide races cited voted in an approximately 50/50

split for Democratic and Republican candidates. Rather than supporting Plaintiffs’

claim that Hispanics are politically cohesive, this 50/50 split among Hispanics is the

textbook definition of the opposite: division. In addition, socioeconomic data for

the City of Quincy indicates no reason to expect Whites and Hispanics in the City of

Quincy would form a politically cohesive coalition. Exh. 1, ¶¶ 14, 24(a)-(d). In fact,

Latinos are at a severe economic disadvantage as compared to Whites. Id. For




                                     Page 20 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 21 of 35




example, the child poverty rate for Whites in the City of Quincy is zero, compared

to 95.1 percent for Latinos. Id

       In sum, the Plaintiffs have failed to meet their burden to clearly establish a

likelihood of success under Gingles preconditions 2 or 3.

                     3. Plaintiffs Have Not Clearly Established a Likelihood of
                        Success Under the Totality of the Circumstances
       Plaintiffs have failed to clearly establish a likelihood of success on even one

of the Gingles preconditions. Assuming solely for the sake of argument that they

could, Plaintiffs have still failed to clearly demonstrate they are likely to show that

there is impermissible vote dilution under the totality of the circumstances, Gingles,

478 U.S. at 79, or establish that they have “‘. . . the potential to elect a representative

of its own choice’ in a possible district, but that racially polarized voting prevents it

from doing so in the district as actually drawn because it is ‘submerg[ed] in a larger

[majority race] voting population.’” Cooper, 137 S. Ct. at 1470 (quoting Growe, 507

U.S. at 40) (first alteration in original).

       The “totality of the circumstances” must be based “upon a searching practical

evaluation of the ‘past and present reality’” to determine whether the political

process is equally open to minority voters. Gingles, 478 U.S. at 79. “‘This

determination is peculiarly dependent upon the facts of each case,’” and requires “an

intensely local appraisal of the design and impact” of the contested electoral

mechanisms. Id. To assist in this final evaluation, courts commonly rely on a non-

                                      Page 21 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 22 of 35




exhaustive, non-exclusive list of factors identified in the Senate Report on the 1982

amendments to the Voting Rights Act. Id. at 45.

        Plaintiffs fail to offer any substantive analysis applying the factors

traditionally evaluated under the totality of circumstances analysis, including the two

“the Supreme Court has said are the most important: (1) the extent to which minority

group members have been elected to public office in the jurisdiction; and (2) the

extent to which voting in the election of the state or political subdivision is racially

polarized.” Carrollton Branch of NAACP v. Stallings, 829 F.2d 1547, 1555 (11th

Cir. 1987) (internal quotations omitted); ECF 15, at 15-28 (Plaintiffs’ totality-of-the-

circumstances argument). Of note, however, socioeconomic data for the City of

Quincy weighs against Plaintiffs under Senate Factor number five: “The extent to

which minority groups bear the effects of discrimination in areas such as education,

employment, and health, which hinder their ability to participate effectively in the

political process.” See, e.g., Carrollton Branch of NAACP, 829 F.2d at 1553; Exh

1, ¶¶ 14, 24(a)-(d) (socioeconomic data for Quincy).

      More significantly, however, Plaintiffs have failed to make the ultimate

demonstration that Whites’ opportunity to participate in the political process under

either of their proposed demonstration plans would be any better than it is under the

City’s enacted plan. Cooper, 137 S. Ct. at 1470, see also Abbott v. Perez, 138 S. Ct.

2305, 2332 (2018) (denying vote dilution claim where evidence of expected


                                    Page 22 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 23 of 35




performance of two majority-minority districts in remedial plan only performed for

minorities 7 out of 35 times in one district and 0 out of 35 times in the other);

Harding v. City of Dallas, 948 F.3d 302, 309 (5th Cir. 2020) (affirming denial of

vote dilution claim where plaintiff-minorities failed to present evidence of their

ability to elect preferred candidates under their proposed remedial plan).

      As compared to the City’s enacted redistricting plan in which Whites

constitute a majority in at least one district, Plaintiffs’ demonstration plans either fail

to create a second majority-White CVAP district or would actually result in Whites

having zero majority-White CVAP districts. Supra, at II.A.1.a-b. Moreover, even

if the data and analysis proffered by Plaintiffs was accepted for the sake of argument

as demonstrating the valid creation of two White-majority CVAP districts and

Plaintiffs’ asserted evidence of minority cohesion and racially polarized voting were

accepted for the sake of argument as demonstrative of voter behavior in the City’s

nonpartisan local elections, Plaintiffs own proffered statistics belie their claim.

      As asserted by Plaintiffs, Whites in Plaintiffs’ demonstration plans only

achieve nominal population majorities (essentially an almost 50/50 split) in Districts

4 and 5. ECF 15-2, at 4, Fig. 1; 6, Fig. 2. Further, Plaintiffs assert that Whites only

vote for allegedly White-preferred candidates at a 75 percent rate (and Hispanics at

an approximately 50 percent rate) while asserting that Blacks vote for their preferred

candidate at an approximately 96 percent rate. See ECF 15-2, at 10, Tbl. 1. Simple


                                     Page 23 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 24 of 35




math thus indicates that Whites would be unlikely to elect any candidate of

preference in either Districts 4 or 5 under Plaintiffs’ demonstration plans given a

nearly 50/50 population split between Whites and Blacks, but a Black populous that

allegedly votes far more cohesively. The burden is on the Plaintiffs to clearly

establish that Whites in their proposed remedial plan could elect their allegedly

preferred candidates, see, e.g., Harding, 948 F.3d at 311, and they have utterly failed

to do so.

      In sum, the purpose of the Gingles analysis is to “establish that ‘the minority

[group] has the potential to elect a representative of its own choice’ in a possible

district, but that racially polarized voting prevents it from doing so in the district as

actually drawn because it is ‘submerg[ed] in a larger [majority race] voting

population.’” Cooper, 137 S. Ct. at 1470 (quoting Growe, 507 U.S. at 40). Plaintiffs

have entirely failed to clearly establish a likelihood of success in this regard on any

asserted Section 2 claim. As such, their Motion for Preliminary Injunctive Relief

should be denied.

      Rather than providing any robust totality-of-the-circumstances analysis,

Plaintiffs’ Motion instead provides unsubstantiated, inflammatory, and spurious

assertions regarding the intent of the City in adopting its enacted redistricting plan.

ECF 15, at 15-28 (arguing that the City’s “readily evident” discriminatory intent




                                     Page 24 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 25 of 35




“plainly demonstrate[s]” that Whites have less opportunity to participate in the

electoral process than other members of the electorate).

      First, even if Plaintiffs’ claims of discriminatory intent had merit (they do

not), evidence of discriminatory intent alone is simply insufficient to demonstrate a

claim under Section 2 of the Voting Rights Act. Section 2 “expressly requires a

showing of discriminatory results, and it admits of no exception for situations in

which there is discriminatory intent but no discriminatory results.” Johnson v.

DeSoto County Board of County Commissioners, 72 F.3d 1556, 1563 (11th Cir.

1996); see also Burton v. City of Belle Glade, 178 F.3d 1175, 1201 (11th Cir.

1999) (affirming grant of summary judgment to appellees on appellants’ vote

dilution claim where “Appellants have offered no evidence of political cohesion or

a majority white voting bloc. Indeed, as discussed earlier, Appellants’ only evidence

concerns allegations of Appellees’ discriminatory intent. This evidence is wholly

insufficient to meet the requirements of the Gingles factors.”).

      Second, to the extent that Plaintiffs’ allegations are relevant to their Section 2

claim, they lack merit. See Miller v. Johnson, 515 U.S. 900, 915 (1995) (in

redistricting cases “the good faith of the legislative body is presumed”). While the

City believes the Plaintiffs’ claims lack merit, given their irrelevance for purposes

of the instant Section 2 analysis the City only addresses them briefly here. As an

initial matter, many of Plaintiffs’ arguments consist of bald assertions without


                                    Page 25 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 26 of 35




citation to any testimony or other evidence, see ECF 15, at 16-28, and accordingly

cannot serve to support Plaintiffs’ claims even if they were relevant.

      Further, they are simply inaccurate. Plaintiffs insinuate nefariousness in the

process and timing of the City’s enactment of it redistricting plan, but the

circumstances simply reflect that upon realizing the malapportioned nature of their

1970s-era plan the City sought to rectify the infirmity and implement a properly

apportioned plan before its next commission election. See generally, Exh. 2.

Plaintiffs claim that the City redistricted to intentionally place two White incumbents

in the same District to remove a minority preferred incumbent, but it is impossible

to interfere with an incumbent’s reelection effort when he has already declared that

he is not seeking reelection. Exh. 3 (Spitzer Deposition), at 44:15-45:4.

      Plaintiffs claim that a transcript of the City Commission’s June 25, 2019

meeting reflects some intent to discriminate against Whites in the City of Quincy,

but it simply cannot bear the insinuations Plaintiffs want it to carry. ECF 15, at 18,

n. 4; ECF 15-1. Plaintiffs claim that somehow the City’s effort to redistrict to

address the existing malapportioned districts actually reflects a “manifest” intent to

“lock in” allegedly more favorable districts under the 2010 Decennial Census, but

there is no legal principal or precedent that would allow any jurisdiction to “lock in”




                                    Page 26 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 27 of 35




a certain district map. If the 2020 Decennial Census data reflects significant

population changes, it is possible that further redistricting may be required.12

      Plaintiffs expert offers a statistical analysis to suggest that the City’s enacted

plan is a statistical outlier thereby implying the City’s enacted plan was created with

discriminatory intent. ECF 15, at 19-23. Plaintiffs expert further asserts that he

believes race predominated in the City’s consultant’s creation of alternative

Districting plans. ECF 15, at 23-27. But this is simply not the case. Exh. 3, at

32:19-34:15; 35:16-37:4; 43:17-44:14; 69:10-73:8; 120:16-121:18; 165:13-168:24;

see also Exh. 2; Exh. 4 (Spitzer Declaration).

      In summary, Plaintiffs’ allegations regarding discriminatory intent are

unfounded but are neither here nor there for purposes of Plaintiffs’ Section 2 claim.

What is important is that Plaintiffs have failed to clearly establish that they are likely




12
  2014-2018 ACS data does estimate some population decline in the City of Quincy
versus the 2010 Decennial Census, although the population share by race and
ethnicity has remained relatively stable. Exh. 1, ¶¶ 16-23. Regardless, until the 2020
Decennial Census is released it is impossible to know what it will reflect. See, e.g.,
Mo. State Conf. of the NAACP v. Ferguson-Florissant Sch. Dist., 201 F. Supp. 3d
1006, 1033 n.10 (E.D. Mo. 2016) (“The danger of using ACS estimates to determine
the population has proven to be well founded. Before the 2010 Decennial Census
count, ACS estimates predicted that the City of St. Louis had gained in population
after 60 years of decline, only to discover at the 2010 Decennial Census count that
the population had declined by approximately 30,000 residents.”).




                                     Page 27 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 28 of 35




to succeed under any of the applicable Gingles requirements. Therefore, Plaintiffs’

Motion for Preliminary Injunctive Relief should be denied.

             B. The Plaintiffs have not clearly established that they will suffer an
                irreparable injury

      Plaintiffs note that an infringement upon the right to vote constitutes an

irreparable injury, and thereby assert that they have satisfied the need to demonstrate

that they will suffer an irreparable injury entitling them to injunctive relief. U.S.

Army Corps of Eng’rs, 424 F.3d at 1136 (noting irreparable injury as a prerequisite

to preliminary injunctive relief). But Plaintiffs’ assertion assumes the predicate, that

there is in fact an infringement on their right to vote. As demonstrated herein,

Plaintiffs have failed to demonstrate any likelihood of demonstrating a Section 2

vote dilution claim.     Therefore, while infringement on the right to vote may

constitute an irreparable injury, Plaintiffs have failed to demonstrate the likelihood

of such injury and have accordingly failed to demonstrate any likelihood that they

will suffer an irreparable injury as a prerequisite to injunctive relief.

             C. The Plaintiffs cannot clearly establish that the equities and the
                public interest favor a preliminary injunction.

      Even if Plaintiffs had shown a likelihood of success on the merits (they have

not), relief would not be warranted because the balance of hardships do not weigh

in their favor. Here, the equities and public interest decidedly favor the City. “Call

it what you will – laches, the Purcell principle, or common sense – the idea is that


                                     Page 28 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 29 of 35




courts will not disrupt imminent elections absent a powerful reason for doing so.”

Crookston v. Johnson, 841 F.3d 396, 398 (6th Cir. 2016) (citing Purcell v. Gonzalez,

549 U.S. 1, 5-6 (2006).

      In considering potential harms and the public interest, courts must “consider

the harms specific to elections cases,” when “attendant on enjoining the enforcement

of the state’s voting law while it is currently in play,” especially so, when voting has

already begun. Feldman v. Raegan, 843 F.3d 366, 394 (9th Cir. 2016) (quoting

Purcell, 549 U.S. at, 4). “Interference with an impending election is extraordinary,

and interference with an election after voting has begun is unprecedented.”

Southwest Voter Registration Educ. Project v. Shelly, 344 F.3d 914, 919 (9th Cir.

2003) (citing Reynolds v. Sims, 377 U.S. 533, 555 (1964)). For this reason, courts

are reluctant to grant injunctive relief, even if the existing districts present

constitutional infirmities. Ely v. Klahr, 403 U.S. 108, 113 (1971); see also Reynolds,

377 U.S. at 586 (“where an impending election is imminent and a State’s election

machinery is already in progress, equitable considerations might justify a court in

withholding the granting of immediately effective relief . . ., even though the existing

apportionment scheme was found invalid.”).13


13
   “Challengers to election procedures often have been left without a remedy in
regard to the most immediate election because the election is too far underway or
actually consummated prior to judgment. Justiciability in such cases depends not so
much on the fact of past injury but on the prospect of its occurrence in an impending
or future election.” Babbitt v. UFW Nat'l Union, 442 U.S. 289, 300 n.12 (1979).
                                    Page 29 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 30 of 35




      The present situation is no different. The City of Quincy election is underway.

Vote-by-mail ballots have been sent out, and as of the date of this pleading, over 200

completed ballots have already been received by the Supervisor of Elections.14 If

voter turnout is equal to that of the 2019 City of Quincy election, then this number

represents over 40 percent of the total ballots cast in the election.15 This fact weighs

heavily against granting a preliminary injunction in this case.

      Further, the City “indisputably has a compelling interest in preserving the

integrity of its election process.” Purcell v. Gonzalez, 549 U.S. 1 (2006) (citing Eu

v. San Francisco County Democratic Central Comm., 489 U.S. 214 (1989)). A

Court order at this point affecting the conduct of the City’s June 9 election could

only lead to voter confusion. See id. at 4-5 (“Court orders affecting elections,

especially conflicting orders, can themselves result in voter confusion and

consequent incentive to remain away from the polls.”). For this reason, in the


14
   The Gadsden County Supervisor of Elections Office reports real-time voter
turnout                   statistics                available                 here:
https://tqv.vrswebapps.com/?state=FL&county=GAD&election=202. The Court
may take judicial notice of information contained on government-maintained public
websites. See, e.g., Cannon v. District of Columbia, 717 F.3d 200, 205 n.2 (D.C.
Cir. 2013) (taking judicial notice of contents of document, available on D.C.
Retirement Board’s website, summarizing operation of pension fund for its
beneficiaries).
15
   According to the election results posted on the Gadsden County Supervisor of
Elections website, 240 out of 452 ballots cast in the 2019 City of Quincy election.
were              cast               by           mail.                        See
https://www.gadsdensoe.com/Portals/Gadsden/Documents/Municipal%20Results.p
df?ver=2019-04-30-210500-557
                                    Page 30 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 31 of 35




context of redistricting, federal courts have concluded that it would be better to allow

an election to proceed even when districts did not fully comport with the

constitution, to avoid the necessity to delay an election which “would involve serious

risk of confusion and chaos.” Ely, 403 U.S. at 113.

      Changing district boundaries for the current June 9 election on its face raises

significant complications as a result of the unavoidable change in voters’ registration

within particular districts. Voters that have already cast ballots may no longer be

located in the districts that are up for election. Similar issues are present for

candidates who may no longer reside in the Districts they have qualified for.

“Because the conduct of elections is so essential to a state’s political self-

determination, the strong public interest in having elections go forward generally

weighs heavily against an injunction that would postpone an upcoming election.”

Cano v. Davis, 191 F. Supp. 2d 1135, 1139 (C.D. Cal. 2001).

        In this case, it is self-evident that there is no way to grant the relief Plaintiffs’

request without cancelling the City’s June 9 election. In addition to the voter

confusion that would result, cancelling the City’s June 9 election would force the

City to conduct the election independently of the Gadsden County Supervisor of

Elections, whose office has historically prepared, administered, and conducted the

City’s elections. Exh. 2, ¶¶ 9, 13. Contrary to the Plaintiffs’ contention that the

relief they request could not involve more than re-distribution of election material at


                                      Page 31 of 35
      Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 32 of 35




a cost of no more than $2,000, the City would actually be in the position of securing

extensive personnel and resources at an unknown cost and implementation schedule

to be able to prepare, administer, and conduct the election independently of the

Supervisor of Elections. Exh. 2, ¶¶ 9, 14-16.

       Moreover, Plaintiffs’ suggestion that this Court consider ordering the City to

conduct its election under its 1970s-era plan is entirely untenable. ECF 15, at 29-

30.    Forcing elections to be conducted under the City’s unconstitutionally

malapportioned 1970s-era plan cannot be a remedy even if the Court believed there

was some merit to Plaintiffs’ Section 2 claims.

       Finally, the Plaintiffs’ delay in seeking relief weighs against granting their

request for preliminary relief. See Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018)

(denying a request for a preliminary injunction where Plaintiffs did not demonstrate

reasonable diligence in requesting injunctive relief); Wreal, Ltd. Liab. Co. v.

Amazon.com, 840 F.3d 1244, 1246 (11th Cir. 2016) (affirming denial of preliminary

relief where “the plaintiff pursued its preliminary injunction motion with the urgency

of someone out on a meandering evening stroll rather than someone in a race against

time”). The City’s redistricting plan was approved March 26. Plaintiffs waited a

month, until April 28, to file their complaint, and for 17 more days, until May 15,

before filing their instant Motion for Preliminary Injunctive Relief. Moreover,

Plaintiffs claim to have had concerns about the City’s redistricting effort since June


                                   Page 32 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 33 of 35




25, 2019, almost a year before Plaintiffs filed their suit. ECF 15, at 18 (claiming

that City’s intent to discriminate against Whites was confirmed in Plaintiffs mind as

early as the City’s June 25, 2019 City Commission Meeting).

      While the Plaintiffs sat on their hands, the City’s election proceeded. New

voter rolls were created and voter registration cards mailed. Candidate qualifying

came and went. Ballots were prepared and vote-by-mail ballots distributed. And,

perhaps most importantly, voters cast their ballots—all while Plaintiffs dithered. In

sum, the equities and public interest weigh against the Plaintiffs’ request.

   III.   CONCLUSION

      The facts of this case reflect that Plaintiffs’ Motion for Preliminary Injunctive

Relief makes a truly extraordinary and drastic request. Plaintiffs ask this Court to

stop an election days before it is completed and force the City to undergo the cost

and burden of independently recreating and conducting that election at some

unknown future date. And Plaintiffs ask for this extraordinary remedy based on a

claimed Section 2 violation that Plaintiffs have entirely failed to substantiate. In

summary, there is simply no basis to grant the extraordinary and drastic relief

Plaintiffs request. As such, this Court should deny Plaintiffs’ Motion for Preliminary

Injunctive Relief.



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                                    Page 33 of 35
     Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 34 of 35




         CERTIFICATE OF COMPLIANCE WITH LOCAL RULES

      The undersigned certifies that this Motion complies with the size, font, and

formatting requirements of Local Rule 5.1(C). The undersigned further certifies that

this Motion complies with the word limit in Local Rule 7.1(F); this Motion contains

7,962 words, excluding the case style, signature block, and certificates.

                                        ***

                                       Respectfully submitted by:

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Dated: May 29, 2020                    Counsel for Defendants




                                   Page 34 of 35
    Case 4:20-cv-00217-AW-MAF Document 21 Filed 05/29/20 Page 35 of 35




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served

via transmission of a Notice of Electronic Filing through the Court’s CM/ECF

system to the following on this 29th day of May, 2020:

                                      /s/ Joseph A Brown
                                      Attorney




                                  Page 35 of 35
